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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION
                         CASE NO. 19-mc-20496-WILLIAMS/TORRES

  SECURITIES AND EXCHANGE COMMISSION,
         Applicant,
  v.
  MINTRADE TECHNOLOGIES, LLC,
        Respondent.
  _____________________________________________/

                                              NOTICE
         Plaintiff Securities and Exchange Commission hereby notifies the Court that on May 14,
  2019, the District Court of New Jersey granted the S.E.C.’s Motion to Dismiss Gentile v. S.E.C.,
  19-cv-5155 (D. NJ), for lack of subject matter jurisdiction because the S.E.C. has not waived
  sovereign immunity. A copy of the Opinion is attached.
         Because all briefing has concluded in this summary proceeding, the S.E.C. only provides
  notice of the Opinion and a copy thereof. If the Court directs the S.E.C. to address how this Order
  supports denying Guy Gentile’s pending motion to intervene, we will file an appropriate brief.
  May 15, 2019                          Respectfully submitted,


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